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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
                                         :
 LEONIDES DUVERNY,                       :
                                         :
                          Plaintiff,     :             18cv7652(DLC)
                -v-                      :
                                         :                  ORDER
 HERCULES MEDICAL P.C., ACHILLES         :
 MEDICAL P.C., HYPERION MEDICAL P.C.,    :
 and GEOFFREY RICHSTONE, individually, :
                                         :
                          Defendants.    :
                                         :
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DENISE COTE, District Judge:

     Having considered the parties’ arguments at the telephonic

final pretrial conference and in their letters of October 30, it

is hereby

     ORDERED that the motion to exclude Dr. Kevin Wright, 1 Dr.

Phillip Rabito, Ms. Taneish Hird, and Mrs. Geoffrey Richstone as

witnesses at trial is granted.

     IT IS FURTHER ORDERED that the motion to exclude Robert

Luongo, Dr. Boma Park, Dwight Wright, Michael (Rohan) Peck, and

Lisa Robinson as witnesses at trial is denied.         The plaintiff’s

objection to the scope of the testimony of Mr. Peck and Ms.




1 An October 30 letter from the plaintiff also identifies this
witness as “Dr. Kevin White.”
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Robinson is overruled.

     SO ORDERED:

Dated:       New York, New York
             November 2, 2020


                                           ____________________________
                                                    DENISE COTE
                                           United States District Judge




                                       2
